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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9      UNITED STATES OF AMERICA,                          CASE NO. CR14-0096-JCC
10
                               Plaintiff,                  ORDER GRANTING
11                                                         CONTINUANCE
                v.
12
        STEVEN ASIR THOMAS,
13
                               Defendant.
14

15          This matter comes before the Court on Defendant Steven Asir Thomas’ Motion to

16 Continue Trial Date and Pre-Trial Motions Cut-Off (Dkt. No. 53). The Government does not

17 oppose such Motion. Having thoroughly considered the Defendant’s briefing and the relevant

18 record, the Court finds oral argument unnecessary and hereby GRANTS the Motion.
19          Defendant has been charged in a Second Superseding Indictment (as have two other

20 Defendants who have evaded arrest), filed on November 6, 2014, with one Count each of:

21 conspiracy to distribute 500 grams or more of methamphetamine; money laundering; conspiracy

22 to possess a firearm in furtherance of a drug trafficking crime; felon in possession of a firearm;

23 and possession of a firearm in furtherance of a drug trafficking crime. (Motion for Continuance,

24 Dkt. No. 53 at 2.) According to Defense counsel, another continuance is needed because: the

25 discovery produced to date includes over 100 hours of audio and videotape recordings, a

26 significant portion of which was only recently provided to Defense; the Defendant has very



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 1 limited access to a computer with which to review this discovery; the telephone records needed

 2 to prepare for trial have not been received despite the issuance of appropriate subpoenas; and one

 3 of the computers seized by the Government is only available for the Defense’s viewing and

 4 analysis at the HSA offices. (Id.)

 5          Based on these factors, the Defense asserts that it will not be ready to try this case on the

 6 current trial date of January 20, 2015. The Government has agreed to the Defense’s proposed

 7 continued trial date of March 23rd, 2015. (Id. at 3.)

 8          The Defendant has filed a waiver of speedy trial through April 30, 2015. (Dkt. No. 54.)

 9 The Speedy Trial Act provides for extensions of the trial date where necessary to serve “the ends

10 of justice.” 18 U.S.C. §3161. Consequently, the Speedy Trial Act excludes “any period of delay

11 resulting from a continuance granted by any judge . . . at the request of the defendant or his

12 counsel or at the request of the attorney for the Government, if the judge granted such

13 continuance on the basis of his findings that the ends of justice served by taking such action

14 outweighed the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

15 §3161(h)(1)(7)(A).

16          For the foregoing reasons, Defendant’s Motion to Continue Trial (Dkt. No. 53) is

17 GRANTED. The trial set for January 20th, 2015 in CR14-0096 is hereby VACATED. The trial

18 is CONTINUED to March 23, 2015. The pre-trial motions cutoff is hereby EXTENDED to
19 January 8th, 2015.

20          DATED this 6th day of January 2015.

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                                                           John C. Coughenour
26                                                         UNITED STATES DISTRICT JUDGE


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